 

Case 1:16-cv-07552-JGK-OTW Document 25 Filed 03/08/17 Page 1 of 6

UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK

wen nn tt item oe X Civil Action No.: 16-cv-7552
DANIEL RIVERA,

Plaintiff, VERIFIED ANSWER TO
- against — THIRD-PARTY COMPLAINT

HOME DEPOT U:.S.A., INC.,
Defendant.
HOME DEPOT U.S.A., INC.,

Third-Party Plaintiff,
-against- .

BRYAN’S HOME IMPROVEMENT CORP.,

Third-Party Defendant.

PLEASE TAKE NOTICE, that the third-party defendant BRYAN’S HOME
IMPROVEMENT CORP. by its attomeys, CONNORS & CONNORS, P.C., answering the
Third-Party Summons and Third-Party Complaint herein, states as follows:

ANSWERING TH FIRST CAUSE OF ACTION

1. Admits each and every allegation of the Third-Party Complaint set forth in
paragraphs 1, 3, 4, 5, 6 and 7.

2. Denies each and every allegation of the Third-Party Complaint set forth in
paragraphs 2 and 14.

3. Denies any knowledge or information sufficient to form a belief as to the truth
of the allegations of the Third-Party Complaint set forth in paragraphs 8, 9, 10, 11, 12 and 13.

ANSWERING THE FIRST CAUSE OF ACTION
4, Third-Party Defendant repeats, reiterates and realleges each and every one of the

foregoing admissions and denials made to the paragraphs of the Third-Party Complaint referred

 

 

 
 

 

Case 1:16-cv-07552-JGK-OTW Document 25 Filed 03/08/17 Page 2 of 6

to in paragraphs 1 through 14 with the same force and effect as though here again fully set forth
at length.

5. Denies each and every allegation of the Third-Party Complaint set forth in
paragraphs 16 and 17.

ANSWERING THE THIRD CAUSE OF ACTION

6. Third-Party Defendant repeats, reiterates and realleges each and every one of the
foregoing admissions and denials made to the paragraphs of the Third-Party Complaint referred
to in paragraphs | through 17 with the same force and effect as though here again fully set forth
at length.

7. Denies each and every allegation of the Third-Party Complaint set forth in
paragraphs 19 and 20.

ANSWERING THE FOURTH CAUSE OF ACTION

8. Third-Party Defendant repeats, reiterates and realleges each and every one of the

foregoing admissions and denials made to the paragraphs of the Third-Party Complaint referred

to in paragraphs 1 through 20 with the same force and effect as though here again fully set forth

 

at length.
9, Denies each and every allegation of the Third-Party Complaint set forth in
paragraphs 22 and 23.
ANSWERING THE FIFTH CAUSE OF ACTION
10. Third-Party Defendant repeats, reiterates and realleges each and every one of the

foregoing admissions and denials made to the paragraphs of the Third-Party Complaint referred
to in paragraphs | through 23 with the sarae force and effect as though here again fully set forth

at length.

11. Denies each and every allegation of the Third-Party Complaint set forth in

paragraphs 25, 26, 27 and 28.

 

 

 
 

 

Case 1:16-cv-07552-JGK-OTW Document 25 Filed 03/08/17 Page 3 of 6

PLEASE TAKE FURTHER NOTICE, that the following affirmative defenses are
set forth as follows:
AS AND FOR A FIRST AFFIRMATIVE DEFENSE
That any injuries which may have been suffered by the plaintiff herein, were caused in
whole or in part as the result of his own cuipable conduct contributing thereto.
AS AND FOR A SECOND AFFIRMATIVE DEFENSE
Upon information and belief, plaintiff's economic loss, if any, as specified in Section
4545 of the CPLR, was or will be replaced or indemnified, in whole or in part, from collateral
sources, and this answering third-party defendant is entitled to have the court consider the same
in determining such special damages as provided in Section 4545 of the CPLR.

AS AND FOR A THIRD AFFIRMATIVE DEFENSE

Plaintiffs claim for damages must be reduced based upon the plaintiff's failure to
mitigate damages.

AS AND FOR A FOURTH AFFIRMATIVE DEFENSE

The plaintiff has not sustained a grave injury as defined by the New York State Workers’
Compensation Law.

WHEREFORE, third-party defendant BRYAN’S HOME JMPROVEMENT CORP.
demands judgment dismissing the Third-Party Complaint against it, together with the costs and
disbursements of this action, and further demands that in the event this third-party defendant is
found liable to plaintiff herein, then said third-party defendant, on the basis of the apportionment
of responsibility, have judgment over and against the aforementioned co-defendant/third-party
plaintiff for all or part of the verdict or judgment that plaintiff may recover against this
answering third-party defendant, together with the costs and disbursements of this action and for

any expenses incurred by it in the defense thereof, including attorney's fees.

 
 

 

Case 1:16-cv-07552-JGK-OTW Document 25 Filed 03/08/17 Page 4 of 6

Dated: Staten Island, New York
March 8, 2017

Respectfully, AY

CONNORS & NOR, PC.
if

L

ROBERT J. PrUpiLGR (1964)
Attorneys for Third-Party Defendant

BRYAN’S HOME IMPROVEMENT CORP.

766 Castleton Avenue
Staten Island, NY 10310
(718) 442-1700

Qur File No.: SIF 26263

TO: GINARTE, O’DWYER, GONZALEZ,

GALLARDO & WINOGRAD, LLP

Attorneys for Plaintiff

225 Broadway, 13" Floor

New York, NY 10007
(212) 601-9700

D’AMATO & LYNCH, LLP

Attorneys for Defendant/Third-Party Plaintiff

HOME DEPOT U.S.A., INC.

225 Liberty Street
New York, NY 10281
(212) 269-0927

 

 

 
 

 

Case 1:16-cv-07552-JGK-OTW Document 25 Filed 03/08/17 Page 5 of 6

CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing VERIFIED ANSWER TO THIRD-PARTY
COMPLAINT was mailed by first class mail, postage prepaid this 8" day of March, 2017, to all

counsel of record as indicated below.

 

TO: GINARTE, O’DWYER, GONZALEZ,
GALLARDO & WINOGRAD, LLP
Attorneys for Plaintiff
225 Broadway, 13" Floor
New York, NY 10007
(212) 601-9700

D’AMATO & LYNCH, LLP

Attorneys for Defendant/Third-Party Plaintiff
HOME DEPOT U:S.A., INC.

225 Liberty Street

New York, NY 10281

(212) 269-0927

 

 
Case 1:16-cv-07552-JGK-OTW Document 25 Filed 03/08/17 Page 6 of 6

Index No. 16ev7552 RIE No. Hon,
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

 

 

 

 

DANIEL RIVERA,
Plaintiff,
-~against-
HOME DEPOT U.S.A., INC.,
Defendants.

and a Third-Party Action

 

 

 

VERIFIED ANSWER TO THIRD-PARTY COMPLAINT

 

 

 

 

 

 

CONNORS & CONNORS, P.C,
Attorneys for Third-Party Defendant BRYAN’S HOME IMPROVEMENT CORP.
Office and Post Office Address, T: elephone
766 Castleton Avenue
Staten Island, New York 10310
(718) 442-1700 PHONE
(718) 442-1717 FAX

 

 

 

 

 

 

Signature (Rule 130-1. | -a)

 

 

 

 

 

 

 

Service of a copy of the within is hereby admitted,

Dated,

 

Attorney(s) for

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Please take notice

Q NOTICE OF ENTRY
that the within is a (certified) true copy of a

duly entered in the office of the clerk of the within named court on

QO NOTICE OF SETTLEMENT
that an order of which the within is a true copy will be presented for
settlement to the HON, one of the judges
of the within named court, at
on at M
Dated,
Yours, ete,

CONNORS & CONNORS, P.C,

Attorneys for
To Office and Post Office Address

766 CASTLETON AVENUE

STATEN ISLAND, NY 10310
